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                                        UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF MISSISSIPPI
                                              JACKSON DIVISION

          UNITED        STATES OF AMERICA                   )
                                                            )
/                       v.                                  )
                                                            )
          DEDRI YULON CALDWELL                              )

                                                   PLEA AGREEMENT

                  Dedri Yulon Caldwell, the Defendant, and her attorney, Robert G. Harenski, have been
          notified that:

          1.      Defendants Obligations

                  If the Defendant waives indictment and tenders a plea of guilty to a one count criminal
          information to be flied in this case, charging her with the felony crime of Conspiracy to Deprive Rights
          Under Color of Law, in violation of 18 U.S;c. § 241, and if she fully cooperates with federal and state
          law enforcement, as well as, the Criminal Section of the U.S. Department of Justice, Civil Rights
          Division and the United States Attorney for the Southern District of Mississippi ("Government")
          and with the District Attorney for the Second Circuit Court District of Mississippi ("District
          Attorney"), as set out in paragraphs 9 and 10.

          2.       Government's Obligations

                   a)        Thereafter, the Government will recommend that the Court: (i) accept the
                             Defendant's plea of guilty; and (ii) inform the United States Probation Office and the
                             Court of this Agreement, the nature and extent of Defendant's activities with respect
                             to this case and all other activities of Defendant which the Government deems
                             relevant to sentencing, including the nature and extent of Defendant's cooperation
                             with the Government.

                   b)        The Defendant has timely notified the Government of her intent to enter a plea of
                             guilty. If the Defendant qualifies for a decrease under U.S.S.G. § 3E1.1 (a), and if the
                             Defendant's offense level determined prior to the operation oEU.S.S.G. § 3El.l(a) is
                             a leve116 or greater, the Government will move for an additional one-level decrease
                             in the guidelines in accordance with U.S.S.G. § 3E1.1 (b).

                   c)        Should the Government determine that Defendant has provided substantial
                             assistance to law enforcement officials in an investigation or prosecution, and has
                             fully complied with the understandings specified in this Agreement, then the
                             government may submit a motion pursuant to United States Sentencing Guidelines
                             ("U.S.S.G.") § 5K1.1 (and Title 18, United States Code, Section 3553(e), if
                             applicable), requesting that the Court sentence Defendant in light of the factors set ..
                             forth in U.S.S.G. § 5K1.1(a)(1)-(S). The determination as to whether Defendant has
                             provided such substantial assistance shall rest solely with the Government ... Should


                                                            PLAINTIFF'S
                                                              EXHIBIT
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    ...
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                any investigation in which Defendant offers information be incomplete at the time
                of her sentencing, the Government may, in lieu of a downward departure at
                sentencing, move for a reduction in sentence pursuant to Rule 35 of the Federal
                Rules of Criminal Procedure at such time as the cooperation is complete. It is .
                understood that, even if such a motion is flied, the sentence to be imposed on
                Defendant remains within the sole discretion of the Court.

3.       Count of Conviction

       It is understood that, as of the date of this Plea Agreement, the Defendant and her attorney
have indicated that the Defendant desires to plead guilty to Count One of the Information.   .

4.       Sentence

         The Defendant understands that the penalty for the offense charged in Count 1 ·of the
Information, charging a violation of Title 18, United States Code, Section 241, is a term of .
imprisonment not to exceed ten (10) years; a term of supervised release of not less than three (3)
years; and a fine ofup to $250,000, The Defendant further understands that a term of supervised
release will be imposed and that the term will be in addition to any prison sentence she receives;
further, if any of the terms of supervised release are violated, the Defendant can be returned to
prison for the entire term of supervised release, without credit for any time already served on the
 term of supervised release prior to the Defendant's violation of those conditions. It is further .
understood that the Court may require the Defendant to pay restitution in this matter in accordance
with applicable law. The Defendant further understands that she is liable to make restitution for the
 full amount of the lossdetermined by the Court to constitute relevant conduct, which is not limited
 to the count of conviction.      .

 5.      Stipulation

         . The Defendant will plead guilty because she is in fact guilty of the charge contained in Count
 One of the Information. In pleading guilty, the Defendant admits and stipulates to the following
 facts that establish her guilt beyond a reasonable doubt: .

        Dedri Yulon Caldwell is a former Harrison County Sheriff's Department Corrections Officer
 who worked the Harrison County Adult Detention Center ("Jail"). Caldwell worked at the Jail from
 on or about April 23, 2001, through on or about December 21, 2005. Caldwell was eventually
 promoted to the rank of Sergeant on October 25, 2004,

         While she was employed at the Jail and acting under color of law, Caldwell conspired with
 other employees at the Jail, also acting under color oflaw, toinjure, threaten, and intimidate inmates
 at the Jail by willfully using excessive and unnecessary physical force against those inmates. The
 conspiracy began on a date uncertain before April 23, 2001, and continued through at least
 December 21, 2005.

         Caldwell and her co-conspirators engaged in a pattern of conduct that included, but was not
 limited to, Caldwell and other officers striking, punching, kicking, choking, and otherwise assaulting
 inmates, knowing that the physical force was unnecessary, unreasonable, and unjustified.



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        It is further understood that full cooperation referred to in paragraph 1 includes:
        a)       immediate and truthful disclosure of all matters involved in this charge to the
                  appropriate federal and state agents;
        b)        truthful and complete disclosure of other matters involving possible violations of
                  federal law to the appropriate federal or state agency as directed by the Government;
        c)        truthful testimony at any trial involving any matter arising from these charges; in
                  federal or state court;
        d)        truthful testimony before any Grand Jury or at any trial in this or any other district
                  on any matter about which the Defendant has knowledge and which is deemed
                  pertinent to the Government;
        e)        full and truthful cooperation with the Government, with any law enforcement
                  agency designated by the Government, and/or the District Attorney's.office;
        f)        attendance at all. meetings at which the U.S. Attorney or the District Attorney
                  requests her presence;
         (g)      provision to the Government, upon request, of any document, record, or other .
                  tangible evidence relating to matters about which the Government, any designated
                  law enforcement agency, and/or the District Attorney inquires of her; and
         (h)      an obligation on the part of the Defendant to commit no further crimes whatsoever.

11.     Limits on Further Prosecution

       It is further understood that the Government and the District Attorney will seek no further
criminal prosecution of the Defendant for any acts or conduct by the Defendant as of the date of .
this Agreement, arising out of any event covered by the Information referenced in paragraph 1, if
the Defendant voluntarily, truthfully, and completely discloses all information and knowledge that
the Defendant possesses. Should the Defendant not voluntarily and completely disclose,then as to
that matter, the Government and/or the District Attorney is free to seek prosecution of the
Defendant. This Plea Agreement does not provide any protection against prosecution for any
crimes except as set forth above:

12.      Breach of this Agreement

        It is further understood that should the Defendant fail or refuse as to any part of this Plea.
Agreement or commit any other crimes, the representations by the United States or the District
Attorney in paragraphs 2 and 11 above are rescinded, and the Defendant's breach shall be
considered sufficient grounds for the pursuit of any prosecutions that the Government or the
District Attorney has not sought as a result of this Plea Agreement, including any such prosecutions
that might have been dismissed or otherwise barred by the Double Jeopardy Clause.

         If the Defendant fails to fulfill her obligations under this Plea Agreement, the United States
may seek release from any or all obligations under this Plea Agreement. If the Defendant fails to
fulfill her obligations under this Plea Agreement, the Defendant shall assert no claim under the
United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(e)(6)of
the Federal Rules of Criminal Procedure, or any other federal rule, that the Defendant's statements
pursuant to this Plea Agreement or any leads derived therefore, should be suppressed or are
inadmissible. Whether the Defendant has breached any provision of this Plea Agreement, if
contested by the parties, shall be determined by the Court in an appropriate proceeding at which the
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Defendant's disclosures and documentary evidence shall be admissible and at which the United
States shall be required to establish a breach of the Plea Agreement by a preponderance of the
evidence.

13.    Binding Effect on this Federal District or Upon the District Attorney

        It is further understood that this Plea Agreement does not bind any other state or local
prosecuting authorities or any other federal district, except as otherwise provided herein; further,
this agreement does not bind the Attorney General of the United States in regard to any matter, civil
or criminal, involving the tax statutes of the United States.                                    .        I
                                                                                                          !
14.    Financial Obligations

        It is further understood and specifically agreed to by the Defendant that, at the time of the
execution of this document or at the time her plea is entered, the Defendant will then and there pay
over the special assessment of $100.00 per count required by Tide 18, United States Code, § 3013, to
the Office of the United States District Court Clerk; the Defendant shall thereafter produce proof of
payment to the Government or to the U.S. Probation Office. If the Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
agrees that it may be made payable fitst from any funds available to the Defendant while she is
incarcerated. The Defendant understands and agrees that, pursuant to Title 18, United States Code,
§ 3613, whatever monetary.penalties are imposed by the Court will be due and payable immediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermore, the
Defendant agrees to provide all of her financial information to the United States and the Probation
Office and, if requested, to participate in a pre-sentencing debtor's examination. If the Court
imposes a schedule of payments, the Defendant understands that the schedule of payments is merely
a minimum schedule of payments. and not the only method, nor a limitation upon the methods,
available to the United States to enforce the judgment. If the. Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons' Inmate Financial Responsibility Program
regardless of whether the Court specifically directs her participation or imposes a schedule of
 payments.

15.     Further Crimes

       It is further understood that should. the Defendant commit any further crimes, this' Plea
Agreement shall be deemed violated and she shall be subject to prosecution for any federal or state
criminal violation of which the Government has knowledge, and that any information provided by
her may be used against her.                                                                 .

16.     Waivers

         The Defendant, knowing and understanding all of the matters aforesaid, including .the
maximum possible penalty that could be imposed, and being advised of her rights to remain silent,
to a trial by jury, to subpoena witnesses on her own behalf, to confront any witnesses against her,
and to appeal her conviction and sentence, in exchange for the recommendations and concessions
made by the Government or the District Attorney in this Plea Agreement, hereby expressly waives
the above rights and the following:



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        a.    The right to appeal the conviction and sentence imposed in this case, or the manner
              in which that sentence was imposed, on the grounds set forth in Title 18,.United
              States Code, § 3742, on any ground, provided the sentence does not exceed the
              maximum sentence .allowed by the statute; and

        b.    The right to contest the conviction and sentence .or the manner in which the
              sentence was imposed in any post-conviction proceeding, including but not limited
              to a motion brought under Title 28, United States Code, § 2255, and any type of
              proceeding claiming to double jeopardy or excessive penalty as a result of any
              forfeiture ordered or to be ordered in this case; and

        c.   . Any right to seek attorney's fees and/or costs under the Hyde Amendment, as codified
               at Title 18, United States Code, § 306A,and the Defendant acknowledges that the
               Government's position in the instant prosecution is not merely frivolous, vexations,
               or undertaken in bad faith; and                                  .

        d.    All rights, whether asserted directly or through a representative, to request or receive
              any department or agency of the United States any records pertaining to the
              investigation or prosecution of this case, including without limitation any records
              that may be sought by her or her representative under the Freedom of Information
              Act, set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at
              Title 5, United States Code, § 552a.

        e.     The Defendant further acknowledges and agrees that any factual issues regarding her
               sentencing will be resolved by the sentencing judge under a preponderance of the
               evidence standard, and the Defendant waives any right to a jury determination of
               these sentencing issues. The Defendant further agrees that, in making its sentencing
               decision, the District Court may consider any relevant evidence without regard to its·
               admissibility under the Rules of Evidence applicable at trial.

        The Defendant waives these rights :in exchange for the .recommendation and
        concessions made by the Government and the District Attorney in this. Plea
        Agreement.

17.     Future Contact with the Defendant

        The Defendant and her attorney acknowledge that if forfeiture, restitution, a fine, or special
assessment, or any combination of these is ordered in the Defendant's case, that this will require
regular contact with the Defendant during any period of incarceration, probation, and supervised
release. Further, the Defendant and her attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case to
confirm in writing whether defense counsel will continue to represent the Defendant in this case and .:
in matters involving the collection of the financial obligations imposed by the Court. If the
Government does not receive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume. that defense counsel. no longer
represents the Defendant and the Financial Litigation Unit will communicate directly with the
Defendant regarding collection of the financial obligations imposed by the Court. The Defendant
and her attorney understand and agree that such direct contact with the Defendant shall not be


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                                                                                                          "   .. "   ~_. -.,.:   ""
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                                    .".

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 deemed an improper ex parte contact with the Defendant if defense counsel fails to notify the
 Government of any continued legal representation within two weeks after the date of entry of the.
 judgment in this case..

. 18.   Complete Agreement

        It is further. understood that this Plea Agreement coropletdy reflects all promises,
 agreements, and conditions made by and among the Government, the District Attorney, and the
 Defendant;

 The Defendant and her Attorney declare that the terms of this Plea Agreement have peen:

        1.      READ TO OR BY HER;
        2.      EXPLAINED TO HER BY HER ATTORNEY; .
        3.      UNDERSTOOD BY HER;
        4.      VOLUNTARILY ACCEPTED BY HER; and
        5.      AGREED TO AND ACCEPTED BY HER.

 WITNESS OUR SIGNATURES, as set forth Wow on December 6, 2006.

                                                      FOR THE DEFENDANT:


 Dunn Lampton
                                                     GLo           {4/~                  /c-C;~-O?
                                          Date       . Dedri Yulo~aldw~           Date
 United States Attorn                                  Defendant
 by: Jack Brooks Lacy,Jr.
 Assistant United States Attorney




                                          Date
                                                     ~.
                                                     Attorney for Defendant
                                                                                     /2- G-2e!rJ6
                                                                                          Date




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